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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR443
                              )
          v.                  )
                              )
ALFREDO CASTANEDA,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for continuance (Filing No. 33).        The Court notes defendant has

previously filed a speedy trial affidavit (Filing No. 14).

Counsel advise the Court that they need an additional thirty (30)

days to pursue plea negotiations.         Accordingly,

           IT IS ORDERED that trial of this matter is rescheduled

for:

                Monday, April 2, 2007, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.            The additional time

between March 5, 2007, and April 2, 2007, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 2nd day of March, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
